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                            Exhibit 1
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             Chicago Police Department                                                      Special Order S03-14
             BODY WORN CAMERAS


 ISSUE DATE:                    29 December 2023              EFFECTIVE DATE:                29 December 2023
 RESCINDS:                      30 April 2018 Version
 INDEX CATEGORY:                03 - Field Operations
 CALEA:                         Law Enforcement Standards Chapters 4, 41, and 72



I.      PURPOSE

        This directive:

        A.        continues the Department’s body worn camera (BWC) policy and procedures.

        B.        satisfies the requirements of the Illinois Officer-Worn Body Camera Act (50 ILCS 706/10); and

        C.        continues the use of the revised:
                  1.      Body Worn Camera Video Review Report (CPD-21.130).

                  2.      Body Worn Camera Videos Viewed Report (CPD-21.131).

II.     DEFINITIONS
        For purposes of this directive the following definitions apply:

        A.        Activate: To double press the event button on the body-worn camera to switch the camera from
                  buffering mode to event mode to begin permanently recording digitally recorded data (audio and
                  video media).

        B.        Body-Worn Camera (BWC): Equipment worn by a Department member that captures digitally
                  recorded data (audio and video media) that includes, at a minimum, a camera, microphone, and
                  recorder. Per 50 ILCS 706/10-20(a)(2), Department BWCs must be capable of recording for a period
                  (buffering) of 10 hours or more.

        C.        Buffering: The BWC is powered on, indicating ready to record, and continually capturing video
                  without audio. While in buffering mode, the video is not recorded to the permanent memory of the
                  BWC until activation, at which time the 120 seconds prior to activation is retained without audio and
                  audio/video recording to the permanent memory begins.

        D.        Community Caretaking Function: A task undertaken by a law enforcement officer in which the
                  officer is performing an articulable act unrelated to the investigation of a crime. "Community
                  caretaking function" includes, but is not limited to, participating in town halls or other community
                  outreach, helping a child find his or her parents, providing death notifications, and performing in-home
                  or hospital well-being checks on the sick, elderly, or persons presumed missing. (50 ILCS 706/10-10)

        E.        Deactivate: To press and hold the event button on the body-worn camera to stop permanently
                  recording digitally recorded data (audio and video media) and returning the camera back to buffering
                  mode.

        F.        Flag: Utilizing the category box in Evidence.com to extend the retention of recorded digital media
                  captured by a body-worn camera beyond the 90 days required by law.

        G.        Force: Any physical contact by a Department member, either directly or through the use of
                  equipment, to compel a person’s compliance, consistent with the Department directive titled "De-
                  escalation, Response to Resistance, and Use of Force."




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        H.      Great Bodily Harm: A bodily injury that creates a substantial risk of death; causes serious,
                permanent disfigurement; or results in long-term loss or impairment of the functioning of any bodily
                member or organ.

        I.      Law-Enforcement-Related Activities: include, but are not limited to:

                1.      responding to and engaging in calls for service;

                2.      investigatory stops;

                3.      traffic stops;

                4.      traffic control;

                5.      foot and vehicle pursuits;

                6.      arrests;

                7.      use of force incidents;

                8.      seizure of evidence;

                9.      interrogations;

                10.     searches, including searches of people, items, vehicles, buildings, and places;

                11.     statements made by individuals in the course of an investigation;

                12.     requests for consent to search;

                13.     emergency driving situations;

                14.     emergency vehicle responses where fleeing suspects or vehicles may be captured on video
                        leaving the crime scene;

                15.     high-risk situations;

                16.     any encounter with the public that becomes adversarial after the initial contact;

                17.     arrestee transports;

                18.     issuing a dispersal order or making an arrest in response to crowds, protests, First
                        Amendment assemblies, and civil disturbances;

                        NOTE:                   Because of the technological capabilities of the BWC, an on-scene
                                                supervisor at such events may instruct the additional activation or
                                                deactivation of the BWC for limited durations of the event when it serves
                                                a proper police purpose or supports the documentation of the event.

                19.     situations where an arrestee interferes with the arrest processing procedures (e.g., refusing
                        fingerprints); and

                20.     any other instance when enforcing the law.

        J.      Private Conversation: Any oral communication between two or more persons, whether in person or
                transmitted by other means, when one or more of the parties intends the communication to be of a
                private nature under circumstances reasonably justifying that expectation. A reasonable expectation
                shall include any expectation recognized by law, including, but not limited to, an expectation derived
                from a privilege, immunity, or right established by common law, case law, state or federal statute, or
                the Illinois or United States Constitution (720 ILCS 5/14-1).

III.    POLICY




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        A.      The Department is committed to protecting the integrity, safety, and welfare of the public as well as its
                members. Department members assigned a body-worn camera (BWC) are required to wear and
                utilize the BWC consistent with this policy and the Illinois Officer-Worn Camera Act (50 ILCS 706/10).

        B.      The proper use of BWC and the audio and visual recordings from the BWC can:

                1.      augment the Department’s records of incidents to improve the quality and reliability of
                        investigations.

                2.      increase Department transparency and member accountability.

                3.      build trust with the public and improve Department legitimacy in the community.

        C.      All Department members will:

                1.      prior to the assignment of and deployment with a BWC, be trained on the use of the BWC
                        equipment and this policy, including the activation and deactivation of the BWC and
                        operational procedures.

                2.      receive periodic refresher training on the use of BWC, including changes to the law, policy, or
                        technology, when applicable.

        D.      Any Department member who fails to comply with this directive is subject to progressive discipline,
                training, or other corrective action according to current Department policies and consistent with the
                Illinois Officer-Worn Body Camera Act (50 ILCS 706/10).

                1.      Improper behavior or infractions observed by a supervisor when viewing BWC recordings are
                        subject to corrective action, which may include training or other supervisory actions if the
                        nature or circumstances of an incident do not warrant a reprimand or formal disciplinary
                        action (e.g., uniform standards, no smoking policy). Department supervisors are permitted
                        and urged to use their judgment in determining the appropriate response to achieve the goal
                        of correcting improper behavior.

                2.      However, Department members are reminded that consistent with the Department directives
                        titled “Complaint and Disciplinary System” and “Summary Punishment,” discipline may be
                        administered for any misconduct or violations of Department rules or policy, including but not
                        limited to the failure to timely activate and use the BWC according to policy, early
                        deactivation of the BWC, improper use of the BWC or recordings, or lost or damaged
                        equipment.

                        NOTE:                Department members may refer to the Department directive titled
                                             "Summary Punishment" for specific less serious transgressions.

        E.      All digitally recorded data created with BWCs are the property of the Department. Dissemination
                outside the Department of any BWC-recorded data is strictly prohibited without specific authorization
                by the Superintendent or an appointed designee in compliance with (50 ILCS 706/10) Law
                Enforcement Officer-Worn Body Camera Act. Unauthorized duplicating, deleting, altering, capturing,
                viewing, accessing, or disseminating of any audio or video from BWC recordings is strictly prohibited.

        F.      The Office of Public Safety Administration – Information Technology Unit will ensure all digitally
                recorded data created by the BWC and downloaded to Evidence.com are retained in accordance with
                the Department's Forms Retention Schedule (CPD-11.717), the Illinois Officer-Worn Body Camera
                Act (50 ILCS 706/10), and Item XII of this directive.

        G.      According to the Illinois Officer-Worn Camera Act (50 ILCS 706/10), no officer may hinder or prevent
                any non-officer from recording a law enforcement officer who is performing his or her duties in a
                public place or when the officer has no reasonable expectation of privacy.

                1.      Department members will permit members of the public to photograph or record law
                        enforcement officers, including sworn Department members, in the performance of their
                        duties in a public place or in circumstances where the law enforcement officer has no
                        reasonable expectation of privacy.


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                2.      720 ILCS 5/14-2(e) allows any individual, not a law enforcement officer, to record law
                        enforcement officers in the performance of their duties in a public place or in circumstances in
                        which the officer has no reasonable expectation of privacy. A public place includes areas on
                        the public way and locations accessible to the public.

                3.      However, Department members may take reasonable action to maintain safety and control,
                        secure crime scenes and accident sites, protect the integrity and confidentiality of
                        investigations, and protect the safety of Department members or others.

                4.      Violation of this law may constitute disciplinary actions consistent with the Department
                        directive titled "Complaint and Disciplinary System" as well as criminal penalties such as theft
                        or criminal damage to property.

        H.      Department members will only use Department-issued BWCs while on duty in accordance with this
                directive.

        I.      If a Department member assigned a BWC is in a vehicle equipped with an in-car video system, the
                member will follow the procedures outlined in both the Department directive titled “In-Car Video
                Systems” and this directive.

        J.      The Department will comply with the video dissemination and release policies as outlined in the
                Department directive titled “Freedom of Information Act” and the “Video Release Policy for the City of
                Chicago,” that includes the responsibility for the Civilian Office of Police Accountability (COPA) to
                release Chicago Police Department BWC recordings related to specific types of incidents.

                NOTE:               Pursuant to the Illinois Freedom of Information Act’s personal information
                                    exemption (5 ILCS 140/7(1)(c)) which protects the unwarranted invasion of
                                    personal privacy, certain video and audio may be redacted upon release.

IV.     BODY-WORN CAMERA IMPLEMENTATION

        A.      The Department has implemented the use of BWCs Department-wide, regardless of a sworn
                member’s unit of assignment.

        B.      All sworn Department members who are assigned to conduct patrol or field duties will be assigned,
                wear, and utilize a BWC.

                NOTE:               Department members detailed or assigned to another law enforcement agencies
                                    (e.g., Federal Bureau of Investigations) for a task force or other assignments will
                                    follow the agreements in place between the Department and the other law
                                    enforcement agency.

        C.      The Department-wide implementation of the BWC program encompasses three types of BWC
                assignment: Fixed, Flex, and Take-Home.

        D.      Fixed BWC Assignment

                1.      Fixed BWC assignment is the traditional method of assignment where the BWC is stored,
                        charged, docked, and downloaded in the unit of assignment and sworn members:

                        a.      are assigned a consistent BWC.

                        b.      receive their assigned BWC from the designated member of the unit of assignment at
                                the beginning of their tour of duty.

                        c.      return their assigned BWC to the designated member of the unit of assignment at the
                                end of their tour of duty.

                2.      The Department has implemented the Fixed BWC Assignment in the following units:

                        a.      Districts 001 through 025 in District Law Enforcement, Bureau of Patrol




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                                NOTE:                Each district has also been provided five Flex BWCs for
                                                     emergency, replacement, or other discretionary use by district
                                                     personnel.

                        b.      Critical Incident Response Team – CIRT (Unit 715)

                        c.      Community Safety Team – CST (Unit 716)

                        d.      Crisis Intervention Teams – CIT (Unit 143)

                        e.      Public Transportation Division (Unit 701)

                        f.      Traffic Section (Unit 145)

                        g.      Detached Services – Uniformed Support Division (Unit 544)

                        h.      Airport Operations – North (Unit 050)

                        i.      Airport Operations – South (Unit 051).

                3.      The Office of Public Safety Administration, Information Technology, is responsible for
                        assigning BWCs to sworn members assigned to the above-listed units.

                4.      Commanding officers of units identified above will ensure that all members under their
                        command that are not assigned and required to use BWCs are properly documented in the
                        CLEAR Watch application.

                5.      Commanding officers of units that are routinely assigned to patrol or field duties may contact
                        Office of Public Safety Administration, Information Technology, to request the Fixed
                        Assignment of BWCs.

        E.      Flex BWC Assignment

                1.      Flex BWC Assignment is:

                        a.      a method of deploying unassigned BWCs individually to non-field unit personnel with
                                the BWCs stored, charged, docked, and downloaded in central locations of select
                                Department facilities.

                        b.      utilized by non-field unit personnel when being deployed and assigned to field or
                                patrol duties for an individual tour of duty

                2.      Sworn members being deployed and assigned to field or patrol duties for an individual tour of
                        duty will:

                        a.      be assigned a rotating Flex BWC.

                        b.      receive a BWC at the beginning of their tour of duty from the designated member
                                assigned to the Department facility

                        c.      return the assigned BWC at the end of their tour of duty to the designated member
                                assigned to the Department facility.

                3.      The Department has implemented the Flex BWC Assignment for all units within the following
                        Department facilities:

                        a.      Public Safety Headquarters

                        b.      Training Division

                        c.      Homan Square Facility, for personnel assigned to the Bureau of Counterterrorism

                        d.      Area Centers 1 through 5, for personnel assigned to the Bureau of Detectives

                        e.      Strategic Deployment Initiative (SDI) deployment locations.


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                4.      Supervisors assigned to the above-listed Department facilities are responsible for assigning
                        Flex BWCs, via the Axon mobile environment, to sworn members under their command
                        assigned to field or patrol duties for an individual tour of duty.

        F.      Take-Home BWC Assignment

                1.      Take-Home BWC Assignment is a method where sworn members are assigned a consistent
                        BWC and deploy with their assigned BWC at the beginning of their tour of duty or when
                        notified to respond to an individual incident (e.g., call-out SWAT Team response).

                2.      The Take-Home BWCs are:

                        a.      stored and charged at the assigned sworn member’s residence.

                        b.      docked to download the digitally recorded data in the sworn member’s unit of
                                assignment, Flex BWC location, or other Department facility.

                3.      The Department has implemented the Take-Home BWC Assignment in the following units:

                        a.      Special Weapons and Tactics (SWAT) Team (Unit 353)

                        b.      Investigative Field Group (Unit 606)

                        c.      Canine Unit (Unit 341)

                        d.      Street Deputies Unit (Unit 140).

                4.      The Office of Public Safety Administration, Information Technology is responsible for
                        assigning BWCs to sworn members assigned to the above-listed units. However,
                        supervisors assigned to the above-listed units are responsible for assigning Flex BWCs, via
                        the Axon mobile environment, to sworn members requiring a temporary replacement BWC
                        when an assigned BWC is out-of-service due to being docked and downloading digitally
                        recorded data.

                5.      Sworn members assigned a Take-Home BWC are responsible for the security of their
                        assigned BWC. Any lost, stolen, or damaged Take-Home BWCs will be reported and
                        investigated consistent with the procedures outlined in Item VII of this directive.

                6.      Commanding officers of units identified above will ensure that all members under their
                        command that are not assigned and required to use BWCs are properly documented in the
                        CLEAR Watch application.

        G.      Regardless of the assignment type, Department members are responsible for securing and using
                their assigned BWC consistent with the requirements of this directive.

V.      INITIATING, CONCLUDING, AND JUSTIFYING RECORDINGS

        A.      Initiating a Recording

                1.      Department members equipped with a BWC will electronically record all law-enforcement-
                        related activities using the BWC while on-duty, except for the limited exceptions specifically
                        indicated in the law (50 ILCS 706/10) and Item V of this policy. The use of BWC to
                        electronically record law-enforcement-related activities is mandatory and is not
                        discretionary.

                2.      The Department member will activate the BWC to event mode at the beginning of an incident
                        and will record the entire incident for all law-enforcement-related activities. For the purposes
                        of the activation of BWCs, the Department has identified the following circumstances as the
                        beginning of a law-enforcement-related activity:

                        a.      for dispatched calls for service, when acknowledging the call for service and en-route
                                to the incident scene.



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                        b.      for investigatory stops, when approaching the member of the public to initiate the
                                stop.

                        c.      for traffic stops, when activating the Department vehicle’s emergency equipment to
                                initiate the traffic stop.

                        d.      for all other law-enforcement-related activities, when the member initiates and
                                engages in the activity.

                                NOTE:               For Take-Home Assignment BWCs, Department members
                                                    responding to a call-out incident will activate the BWC to event
                                                    mode upon arrival at the responding location.

                3.      Consistent with 50 ILCS 706/10-20(a)(3)(A), if exigent circumstances prevent activating the
                        BWC at the beginning of an incident as defined above (e.g., the incident scene creates a
                        situation where the initial activation of the BWC unsafe, impractical, or impossible), the
                        member will activate the BWC to “event” mode to record a law-enforcement related activity as
                        soon as practicable.

                        a.      The justification for the late activation of a BWC will be documented and recorded as
                                outlined in Item V-C of this directive.

                        b.      The First Deputy Superintendent or exempt member of the Office of the
                                Superintendent may authorize exigent circumstances that the Department member
                                use of BWC is unsafe or operationally impracticable. These circumstances include,
                                but are not limited to:

                                (1)     A Department Explosives Technician approaching a potentially explosive
                                        device.

                                (2)     A Department Marine Officer conducting a SCUBA diving activity under the
                                        surface of the water.

                                (3)     A Department member operating in an approved covert capacity and
                                        assigned not to be reasonably identifiable as a police officer.

                4.      A Department member may utilize discretion to activate the BWC for non-law-enforcement-
                        related activities in the following circumstances that are not required by the law or policy:

                        a.      in situations that the member, through training and experience, believes will serve a
                                proper police purpose.

                                NOTE:               Department members are reminded that the Chicago Police
                                                    Department will not tolerate abuse of law enforcement authority.
                                                    While the Department does recognize the concept of discretion,
                                                    that discretion must be reasonable, defensible, and may not be
                                                    for an improper purpose, consistent with the Department
                                                    directive titled “Protection of Human Rights.”

                        b.      in situations that may help document, enhance, and support the following: written
                                reports, evidence collection, investigations, and court testimony; and

                        c.      when the member is engaged in community caretaking functions (e.g., on-view lost
                                person or well-being check).

                                NOTE:               If the community caretaking function develops into a law-
                                                    enforcement-related activity (e.g., the investigation of criminal
                                                    activity; the person on whose behalf the member is performing a
                                                    community caretaking function has committed, is committing, or
                                                    is about to commit a crime), Department members are required
                                                    to activate the BWC to event mode to begin electronically
                                                    recording the incident.


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                5.      Upon initiation of a recording, Department members will announce to the person(s) that their
                        BWC has been activated and provide verbal notice that the incident is being recorded, unless
                        doing so would be unsafe, impractical, or impossible.

                        a.      Department members will ensure this announcement is recorded using the activated
                                BWC.

                        b.      If circumstances prevent issuing the notice upon the initiation of the recording, the
                                Department member will provide the notice as soon as practical.

                6.      Sworn members will not unreasonably endanger themselves or another person to conform to
                        the provisions of this directive.

        B.      Deactivation of a Recording

                1.      The Department member will not deactivate event mode unless:

                        a.      the entire incident has been recorded and the member is no longer engaged in a law-
                                enforcement-related activity;
                                For the purposes of the deactivation of BWCs, the Department has identified the
                                following circumstances as the conclusion of a law-enforcement-related activity:

                                (1)     the member has cleared the assignment;

                                (2)     the member leaves the scene of the incident;

                                (3)     for arrestee transports, when the arrestee:

                                        (a)      is secured in the processing room and the member is only
                                                 conducting administrative functions of the Department alone or only
                                                 in the presence of other sworn members; or

                                        (b)      custody has been transferred to another Department member, lock-
                                                 up personnel, mental health providers, or hospital personnel.

                                (4)     the highest-ranking on-scene Bureau of Patrol supervisor has determined
                                        that the scene is secured in circumstances involving an officer-involved death
                                        investigation, firearm discharge, or any other use of force incident.

                                        (a)      The scene may be considered secure when all of the following
                                                 conditions are met: all offenders are in custody or otherwise not in
                                                 the area, medical aid has been requested/administered or the
                                                 Chicago Fire Department (CFD) is on the scene, the involved officers
                                                 have been identified, and the crime scene has been established.

                                        (b)      The Bureau of Patrol supervisor determining that the scene is
                                                 secured will announce the determination via the Office of Emergency
                                                 Management and Communications (OEMC) dispatcher.

                        b.      requested by a victim of a crime;

                        c.      requested by a witness of a crime or a community member who wishes to report a
                                crime; or

                        d.      the officer is interacting with a confidential informant.

                                EXCEPTION:            Department members may continue or resume recording a victim
                                                      or witness if exigent circumstances exist or if the officer has
                                                      reasonable articulable suspicion that a victim, witness, or
                                                      confidential informant has committed, is committing, or is about
                                                      to commit a crime.




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                2.      Department members will ensure their BWC is deactivated, consistent with this directive,
                        before providing an oral response to the public safety investigations for incidents involving a
                        firearms discharge and/or officer-involved death, consistent with the Department directive
                        titled “Firearm Discharge and Officer-Involved Death Incident Response and Investigation.”

                3.      The Department member will ensure that any request made by a victim or witness to
                        deactivate the camera, unless impractical or impossible, is made by a victim or witness on
                        the recording.

                4.      When deactivating a BWC prior to the conclusion of an incident, the Department member will
                        verbally state the reason for the deactivation, as outlined in Item V-B-1 above, on the BWC
                        before deactivation, unless doing so would be unsafe, impractical, or impossible.

        C.      Justification for Not Activating, Late Activation, and Early Deactivation of a Recording

                1.      When not activating a BWC, activating the BWC after the beginning of a law-enforcement-
                        related activity, or deactivating a BWC prior to the conclusion of an incident, Department
                        members will:

                        a.      verbally state the reason on the BWC. When a member fails to record an incident or
                                circumstances warrant the verbal justification of a late activation or early deactivation
                                as being unsafe, impractical, or impossible, the member will document the reason by:

                                (1)     activating the BWC to event mode, and

                                (2)     stating the type of incident, event number, and the reason for deactivating
                                        the recording.

                        b.      notify their immediate supervisor.

                        c.      document the reason in the narrative of the incident case report, if completed for the
                                incident.

                2.      When notified of a BWC activation deficiency, the notified supervisor will document the
                        incident on their Supervisor’s Management Log and ensure the appropriate corrective actions
                        are taken and documented.

VI.     PROHIBITED CONDUCT

        A.      The BWC will not be activated to record:

                1.      individuals in residences or other private areas not open to the public unless:

                        a.      there is a crime in progress,

                        b.      during the service of a search warrant, or

                        c.      other circumstances that would allow the officer to be lawfully present without a
                                warrant (e.g., response to a call for service, lawful search for a person wanted for a
                                criminal act).

                2.      inside medical facilities, except when directly relevant and necessary to a law enforcement
                        investigation and approved by the member's immediate supervisor.

                3.      appearances at court or hearings. Members will turn off their BWC so that it is not in buffering
                        mode after notifying the dispatcher and verbally announcing the reason for turning off the
                        BWC.

                4.      in connection with strip searches.

                        NOTE:                Department members will not activate the BWC to record strip searches.

                5.      personal activities of other Department members during routine, non-law-enforcement-related
                        activities.


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         B.     The audio recording of a private conversation is prohibited by law when obtained or made by stealth
                or deception or executed through secrecy or concealment.

VII.     OPERATIONAL PROCEDURES

         A.     At the beginning of their tour of duty or upon being assigned to patrol or field duties, Department
                members will:

                1.      receive their assigned BWC from the designated Department member and indicate receipt by
                        completing the Personal Equipment Log (CPD-21.919);

                2.      visually and physically inspect the BWC and ensure that it is their assigned BWC, fully
                        charged, and operational;

                3.      securely attach the BWC to the front of the member’s person ensuring the camera lens
                        captures the perspective of the member and is not obstructed by clothing or any other
                        uniform item or equipment (e.g., attached to a member’s outermost garment) consistent with
                        training; and

                4.      ensure the BWC is on buffering mode prior to leaving the station or their unit's Department
                        facility.

                NOTE:                 Department members assigned a Take-Home BWC will follow the procedures
                                      outlined in Item VII-A-2 through 4 at the beginning of their tour of duty or upon
                                      being assigned and responding to the incident.

         B.     During the tour of duty, Department members will:

                1.      be responsible for the proper use, care, and maintenance of their assigned BWC consistent
                        with this directive.

                2.      activate their BWC to event mode to record incidents consistent with this directive.

                3.      when responding to incidents, including self-initiated activities and calls for service, notify
                        OEMC to ensure a PCAD event number is obtained for the incident. If responding to the
                        incident as an assist unit, notify OEMC of their response to the incident and obtain the
                        primary unit's event number consistent with training.

                4.      annotate all reports that relate to a recorded incident as “BWC" and document the incident’s
                        event number either in the designated field or narrative of the report.

                5.      if seeking approval of felony charges through the Assistant State's Attorney Felony Review
                        Unit, inform the ASA that the incident was recorded using a BWC.

                6.      document the review of their BWC recording of an incident in the narrative portion of any
                        report they complete for the incident (e.g., incident case report, Arrest Report, Tactical
                        Response Report).

                        a.      Except for incidents outlined below, Department members may view their BWC
                                recording of an incident prior to writing an initial report related to the incident.

                                EXCEPTION:            Department members will not have access to or view their BWC
                                                      recordings of an incident or the BWC recordings of other
                                                      Department members prior to writing an initial report for the
                                                      following incidents:

                                (1)       A Department member has been involved in or is a witness to an officer-
                                          involved firearm discharge or officer-involved death incident.

                                (2)       Use of deadly force incidents or use of force incidents resulting in great
                                          bodily harm or death.




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                                (3)      If a Department member is ordered to write a report in response to a
                                         complaint or misconduct investigation.

                        b.      When the above-listed exceptions apply, after writing an initial report, a Department
                                member may review his or her BWC recording and, subject to a supervisor’s
                                approval, will complete and submit a supplemental report, that will include
                                documentation regarding the access to the video, by the end of the tour of duty in
                                which the Department member reviewed the BWC recording.

                                NOTE:                 Supervisors will document in any denial of a member completing
                                                      a supplemental report and the rationale for the denial.

                7.      in any instance where a BWC was turned off or deactivated consistent with this directive, turn
                        on or reactivate the BWC if required and as soon as it is safe and practicable to do so.

                        EXAMPLE:             The member is cleared from court or the interview of the person
                                             requesting deactivation is completed.

                8.      notify their supervisor as soon as practicable if, at any time during their tour of duty:

                        a.      they are unable to utilize the BWC or download digitally recorded data due to
                                technical problems.

                        b.      their assigned BWC or a component thereof becomes inoperable (e.g., dead battery,
                                inoperable audio or video recording functions) or the BWC is lost, stolen, or
                                damaged.

        C.      At the conclusion of a tour of duty, Department members will:

                1.      return their assigned BWC to the designated Department member and ensure the BWC is
                        placed in the assigned slot on the docking station.

                2.      sign-in the BWC on the Personal Equipment Log (CPD-21.919).

                3.      flag any BWC recordings for retention in Evidence.com, consistent with the requirements in
                        Item XII of this directive.

        D.      When their recordings are identified as being unmatched to a PCAD event number, Department
                members will match their BWC recordings with the correct associated PCAD event number and
                record the full ten digit PCAD event number in the “ID” field of the Evidence.com record.

        E.      When a Take-Home BWC was activated to event mode to capture a law-enforcement related
                encounter:

                1.      the Department member assigned the Take-Home BWC will:

                        a.      notify their immediate supervisor.

                        b.      relocate to the designated Department facility prior to the conclusion of their tour of
                                duty.

                        c.      provide their Take-Home BWC to the designated Department member and ensure
                                the BWC is placed in the assigned slot on the docking station.

                                (1)      If the digitally recorded data download process is not complete before the
                                         conclusion of their tour of duty, receive a temporary replacement Flex BWC
                                         when the assigned Take-Home BWC is out-of-service due to being docked
                                         and downloading digitally recorded data. Upon completion of the
                                         downloading of the digitally recorded data, the member will return the
                                         replacement Flex BWC and receive their assigned Take-Home BWC.




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                                (2)      If the digitally recorded data download process has been completed by the
                                         conclusion of their tour of duty, the member will retrieve their assigned Take-
                                         Home BWC.

                2.      the notified supervisor will:

                        a.      relocate with the member assigned the BWC to the designated Department facility
                                prior to the conclusion of their tour of duty.

                        b.      ensure the BWC is docked and document the docking/storage of the BWC at the
                                Department facility on a Personal Equipment Log (CPD-21.919).

                        c.      log into Evidence.com to verify the status and confirm the completion of the download
                                of the digitally recorded data from the BWC. When an assigned BWC is out-of-
                                service due to being docked and downloading digitally recorded data:

                                (1)      assign a replacement Flex BWC, via the Axon mobile environment, to sworn
                                         members requiring a temporary replacement of a Take-Home BWC, and

                                (2)      ensure the return of the replacement Flex BWC and receipt of the member’s
                                         assigned Take-Home BWC upon completion of the downloading of the
                                         digitally recorded data.

VIII.     SUPERVISORY RESPONSIBILITY

          A.    All supervisors will ensure Department members are utilizing their BWCs consistent with this
                directive, including the proper use, care, and maintenance of the BWCs.

          B.    A supervisor assigned to oversee Department members utilizing Department-issued BWCs will:

                1.      if a member utilizes a BWC that is not assigned to him or her, initiate an investigation and
                        reassign the recording in Evidence.com to the member who created the recordings.

                2.      obtain a P-Quip – Equipment Support Ticket whenever a member’s BWC becomes
                        inoperable or the member is unable to utilize the BWC or download digitally recorded data
                        due to technical problems.

                3.      initiate an investigation when notified of a missing, lost, or damaged BWC.

                4.      ensure members who reviewed a BWC recording prior to writing any report document this
                        fact in the narrative portion of the report prior to the supervisor’s approval of the report.

                5.      document any supervisory reviews or actions taken in respect to BWCs on their Supervisor's
                        Management Log (CPD-11.455).

                6.      document any supervisory observation that results in taking a support action with a
                        Department member regarding the use of a BWC or the reviewing of a BWC recording in a
                        Performance Recognition System Portfolio Report consistent with the Department directive
                        titled “Performance Recognition System.”

          C.    Department supervisors are required to view recordings on Evidence.com when completing their
                assigned supervisory responsibilities in regards to:

                1.      investigating a complaint against an officer or a specific incident in which the Department
                        member was involved, consistent with the Department directive titled “Complaint and
                        Disciplinary System.”

                        NOTE:                 The initiating supervisor is encouraged to view the relevant BWC
                                              recording for evidence of the allegation of misconduct or complaint.




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                2.      reviewing and evaluating the performance of Department members that have had a pattern of
                        actions or allegations of misconduct and have been placed in the Behavioral Intervention
                        System or Personnel Concerns Program consistent with the respective Department
                        directives.

        D.      District station supervisors (DSS) will ensure:

                1.      the daily assignment roster sent to OEMC and entered in the Police Computer Aided
                        Dispatch (PCAD) identifies members who are assigned a BWC by placing the letter “K” next
                        to the members’ names.

                2.      any supervisory review or actions taken in respect to a BWC is documented on the Watch
                        Incident Log (CPD- 21.916).

                3.      the designated Department member issues and receives Department members’ BWCs
                        consistent with the provisions outlined in this directive, including the docking of BWCs to
                        initiate charging and the downloading of the digitally recorded data.

        E.      Whenever a BWC-related incident requires the completion of a Tactical Response Report (TRR)
                (CPD-11.377), the lieutenant or above/exempt level incident commander responsible for investigating
                the reportable use of force documented on the TRR will review:

                1.      the BWC videos related to the involved member’s reportable use of force, and

                2.      verify the reporting procedures outlined in the Department directive titled "Incidents Requiring
                        the Completion of a Tactical Response Report" are followed and that the members involved
                        complied with Department policy.

                NOTE:                 If unable to view a BWC-recorded incident, the investigating supervisor will notify
                                      the Crime Prevention Information Center (CPIC) and request assistance from a
                                      designated member of Office of Public Safety Administration, Information
                                      Technology.

        F.      The watch operations lieutenant (WOL) will:

                1.      ensure members who reviewed a BWC recording prior to writing an arrest report document
                        this fact in the narrative portion of the Arrest Report prior to initial approval of probable cause
                        for any arrests.

                2.      whenever operationally feasible, review video of any arrest recorded by a BWC as part of the
                        approval of probable cause. The WOL will document whether or not the BWC recording was
                        reviewed in the “Watch Operations Lieutenant Comments” section of the Automated Arrest
                        Application.

        G.      Random Reviews. District watch operations lieutenants (WOL) will review one randomly selected
                BWC recording on their respective watch per tour of duty. Visiting lieutenants and tactical lieutenants
                designated as the WOL will complete the required random body worn camera video review process
                for the date, watch, and unit that they are assigned as a WOL.

                1.      In units outside District Law Enforcement with Fixed Assignment BWCs, the commanding
                        officers will designate a supervisor the rank of lieutenant or above to conduct the review of
                        one BWC recording per tour of duty.

                2.      The WOL or the designated unit reviewing supervisor will:

                        a.      access the “Random Video Review (RVR)” application in CLEAR and select the date
                                range, watch, and unit associated with the required review.

                                (1)       The RVR will randomly identify one BWC recording for each date for the
                                          watch and unit identified.




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                                (2)      The BWC recording is identified based on date, unit, and the times of day for
                                         the selected watch. Therefore, the recording selected may have been
                                         captured by a Department member not assigned to their respective watch.

                                NOTE:                  If the RVR is unavailable or does not identify a BWC recording
                                                       for review, the WOL will contact the Help Desk and document
                                                       the unavailability of the video and Help Desk Ticket number on
                                                       the Body Worn Camera Videos Viewed Report (CPD-21.131) for
                                                       that date.

                        b.      select the identified recording to review via Evidence.com.

                        c.      review the identified recording to ensure compliance with policy, assess the need for
                                additional training and tactical improvement, ensure close and effective supervision,
                                and verify that an PCAD event number has been assigned for the recording.

                        d.      after viewing the recording, select “Mark Reviewed” to indicate the completion of the
                                viewing and indicate if the recording reviewed included a civilian interaction.

                        e.      complete a Body Worn Camera Video Review Report (CPD-21.130) for the one
                                randomly selected BWC recording viewed per tour of duty and forward it to the
                                executive officer.

                        f.      log each video viewed in a Body Worn Camera Videos Viewed Report (CPD-21.131),
                                and forward the completed report to the executive officer at the end of each month.

        H.      The district executive officer will complete a Unit Level Body Worn Camera Program Evaluation
                Report in a To-From-Subject Report at the end of each month and submit it to the unit commanding
                officer no later than the 16th of the following month.

                1.      The criteria for the unit level evaluation report will consist of:

                        a.      an evaluation of the Body Worn Camera Total Activity Report.
                                The Body Worn Camera Total Activity Report:

                                (1)      generates members' BWC activation activity.

                                (2)      is accessed on The Wire under the BWC tab.

                                (3)      will be generated and analyzed weekly to ensure compliance with
                                         Department policy and training.

                                NOTE:                  The evaluation of the report will include a review of how many
                                                       videos a member assigned a BWC has recorded respective to
                                                       his or her current assignment and number of days worked.

                        b.      how many investigations were initiated for missing, lost, or damaged BWCs and the
                                status of the investigation.

                        c.      how many P-Quip – Equipment Support Tickets were obtained for any reason for a
                                BWC and a detailed description of the reason.

                        d.      a compiled evaluation of the Body Worn Camera Video Review Reports (CPD-
                                21.130).

                        e.      all district Body Worn Camera Videos Viewed Reports (CPD-21.131).

                                NOTE:                  If the Body Worn Camera Videos Viewed Report indicates that
                                                       the RVR was unavailable or did not identify a BWC recording for
                                                       review, the district executive officer will notify the appropriate
                                                       WOL to review the selected video for that district, watch, and
                                                       date.


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                        f.      all identified non-compliance issues, any corrective action that was taken, and a
                                description of the incident including the status.

                2.      The district executive officer will ensure corrective measures, are taken for members who are
                        found to be in non-compliance of Department policy or training. Any corrective action taken
                        will be documented on the Unit Level Body Worn Camera Program Evaluation Report.

                NOTE:                In units outside District Law Enforcement with Fixed Assignment BWCs,
                                     commanding officers will designate a supervisor the rank of lieutenant or above
                                     to complete the Unit Level Body Worn Camera Program Evaluation Report.

        I.      District commanders/unit commanding officers or their designees will:

                1.      review BWC information quarterly in Evidence.com to ensure each recording has a PCAD
                        event number assigned to it.

                2.      ensure that Body Worn Camera Video Review Reports (CPD-21.130) are retained at the unit
                        level.

                3.      review and approve the monthly Unit Level Body Worn Camera Program Evaluation Report,
                        which includes the criteria established in item VIII-H of this directive and will:

                        a.      submit the report, before the end of the month, through the chain of command to the
                                commanding officer, Inspections Division, ATTN: BWC Program Evaluation
                                Committee; and

                        b.      email the report to the Inspections Division at 126.notification@chicagopolice.org.

IX.     UNIT RESPONSIBILITIES

        A.      Office of Public Safety Administration, Information Technology:

                1.      will ensure all authorized Department members and any authorized outside-agency
                        personnel have access to view recordings on the Evidence.com database that relate to their
                        official duties.

                        NOTE:                 Supervisors, members of the Bureau of Internal Affairs, members of the
                                              Inspections Division, and Civilian Office of Police Accountability (COPA)
                                              investigators may view the digitally recorded footage from BWCs on
                                              Evidence.com as determined by their clearance level and as authorized
                                              by the Managing Deputy Director, Information Technology, Office of
                                              Public Safety Administration.

                2.      is responsible for:

                        a.      the management and maintenance of the equipment and technology used in support
                                of the BWCs, including assigning, reassigning, and replacing BWCs.

                        b.      the retention of all digitally recorded data created by the BWC and downloaded to
                                Evidence.com are retained in accordance with the Department's Forms Retention
                                Schedule (CPD-11.717), the Illinois Officer-Worn Body Camera Act (50 ILCS
                                706/10), and Item XI of this directive.

                        c.      the annual report consistent with 50 ILCS 706/10-25 and Item XIV of this directive.

                        d.      promptly providing Department members who have reported an inoperable or
                                damaged BWC with a replacement (temporary or permanent) no later than the
                                beginning of the reporting member’s next tour of duty.

                        e.      ensuring the automated process to match BWC recordings with the associated PCAD
                                event number is conducted on a daily basis.




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                        f.       reporting to units when BWC recordings remain unmatched to a PCAD event
                                 number.

        B.      The Inspections Division will promote compliance with the policy and procedures of this directive
                consistent with procedures established by the Commander, Inspections Division.

        C.      The Training Division will ensure a process is developed and maintained to allow the use of functional
                BWCs for training purposes without retention of the BWC recordings beyond what is intended for
                training reviews, debriefings, or other uses for the advancement of training.

                NOTE:                Activities during Department training exercises recorded on BWC as outlined
                                     above are not considered law-enforcement-related activities for retention
                                     purposes under the Illinois Officer-Worn Body Camera Act (50 ILCS 706/10).
                                     However, if during a training exercise a Department member engages in a law-
                                     enforcement-related activity as defined in this directive, the member will follow
                                     the provisions of this directive for the use of the BWC and any recordings.

        D.      The Audit Division will regularly audit:

                1.      samples of BWC recording to assess the Department member’s use of BWCs and
                        compliance with this policy to identify any trends that warrant changes to policy, training,
                        tactics, equipment, or Department practices.

                2.      the random reviews conducted and evaluation reports completed by units assigned Fixed
                        BWCs to assess compliance with policy and to identify any trends that warrant changes to
                        policy, training, tactics, equipment, or Department practices.

X.      OFFICER-INVOLVED SHOOTING OR OTHER INCIDENT THAT INVOLVES GREAT BODILY HARM TO A
        PERSON

        A.      Department members at the scene of an officer-involved shooting or other incident that involves great
                bodily harm or death will not deactivate their BWC until directed to do so by an on-scene supervisor.

        B.      Department members involved in an officer-involved shooting or other incident that involves great
                bodily harm will provide their BWCs when so directed by a supervisor.

        C.      The assigned street deputy will direct a supervisor to take control of the BWCs once the scene is
                secured.

        D.      The supervisor directed by the street deputy to take control of the BWC will ensure:

                1.      the recording is available for immediate viewing by authorized personnel investigating the
                        incident; and

                2.      the BWC is returned to the docking station in the unit of assignment and uploaded.

XI.     VIEWING DIGITALLY RECORDED DATA

        A.      Recordings are stored and viewed on Evidence.com.

        B.      If the digitally recorded data must be viewed before it is uploaded to Evidence.com, the BWC will be
                taken to a Department facility equipped with a computer or other device identified by Office of Public
                Safety Administration, Information Technology, as capable of showing the recording.

        C.      Department members authorized to view recordings on Evidence.com will use their unique user
                access credentials from a Department computer at a Department facility.

        D.      Non-authorized Department members who are seeking to view copies of recordings from a BWC will
                complete the "Digitally Recorded Data Viewing/Hold/Duplication Request" (CPD-65.224) and forward
                it to the Administrative Support Division.




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                 NOTE:                All digitally recorded data created with BWCs are the property of the Department.
                                      Dissemination outside the Department of any BWC-recorded data is strictly
                                      prohibited without specific authorization by the Superintendent or an appointed
                                      designee in compliance with (50 ILCS 706/) Law Enforcement Officer-Worn Body
                                      Camera Act. Unauthorized duplicating, deleting, altering, capturing, viewing,
                                      accessing, or disseminating of any audio or video from BWC footage is strictly
                                      prohibited.

XII.      RETENTION
          All digitally recorded data created by the BWC will be retained in accordance with the Department's Forms
          Retention Schedule (CPD-11.717) and the Illinois Officer-Worn Body Camera Act (50 ILCS 706/10).

          A.     Recordings made on BWCs must be retained for a period of 90 days unless any incident captured on
                 the recording has been flagged for extended retention.

          B.     Under no circumstances will any BWC recording of a flagged incident be altered or destroyed prior to
                 two years after the recording was flagged. If the flagged recording was used in a criminal, civil, or
                 administrative proceeding, the recording will not be destroyed except upon a final disposition and
                 order from the court.

          C.     BWC recording will be flagged in Evidence.com in the following manner:

                 1.      Office of Public Safety Administration, Information Technology, will ensure that encounters
                         matched with PCAD events resulting in a detention, including investigatory stops or arrests,
                         excluding traffic stops which resulted in only a minor traffic offense or business offense, are
                         flagged.

                 2.      The involved member's supervisor will flag recordings that capture:

                         a.      an officer discharging his or her firearm or using force during the encounter;

                         b.      death or great bodily harm to any person;

                         c.      incidents that a supervisor, prosecutor, defendant, or court determines has
                                 evidentiary value in a criminal prosecution.

                 3.      The Bureau of Internal Affairs will flag recordings that relate to:

                         a.      a complaint against a Department member, or

                         b.      Department member who is the subject of an internal investigation or otherwise being
                                 investigated for possible misconduct.

                 4.      The Administrative Support Division will flag recordings that are subject to a court order,
                         subpoena, or a Freedom of Information Act (FOIA) request.

                 5.      Recording members may flag their own recordings for purposes related to their duties.

                 6.      Recordings may be flagged by other investigative bodies that have the legal authority to do
                         so.

          D.     Prior to the 90-day storage period, recordings may be flagged and retained if a supervisor designates
                 the recording for training purposes.

          E.     In the event any BWC recording is altered, erased, or destroyed prior to the expiration of the 90-day
                 storage period, the Department will maintain, for a period of one year, a written record including:

                 1.      the name of the individual who made such alteration, erasure, or destruction, and

                 2.      the reason for any such alteration, erasure, or destruction.

XIII.     BODY WORN CAMERA PROGRAM EVALUATION COMMITTEE

          A.     Committee Membership

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                1.      The Body Worn Camera Program Evaluation Committee will consist of the following
                        members, or their designee:

                        a.      Chief, Bureau of Patrol, who will serve as chairperson of the committee;

                        b.      Chief, Office of Constitutional Policing and Reform, who will serve as vice-
                                chairperson of the committee;

                        c.      Chief, Bureau of Detectives;

                        d.      Chief, Bureau of Counterterrorism;

                        e.      Chief, Bureau of Internal Affairs;

                        f.      General Counsel to the Superintendent;

                        g.      Deputy Chief, Training and Support Group;

                        h.      Deputy Director, Risk Management Unit;

                        i.      Commander, Inspections Division;

                        j.      Commanding officer, Research and Development Division;

                        k.      Commander, Labor Relations Division;

                        l.      Assistant Director, Audit Section; and

                        m.      Designated police officer, Bureau of Patrol.

                2.      Membership of the Body Worn Camera Program Evaluation Committee will also include
                        Office of Public Safety Administration personnel having responsibility for the administrative
                        functions of the Department, to include, overseeing and coordinating the Department’s
                        technological, budget, and fiscal responsibilities.

                3.      The chairperson will designate a police officer from the Bureau of Patrol to serve on the
                        committee.

                4.      Committee meetings will convene quarterly and upon notification from the chairperson.

                5.      The Commander, Inspections Division, will analyze and compile all reports received and
                        present a report to the Body Worn Camera Program and Evaluation Committee at the
                        quarterly meetings.

         B.     The Body Worn Camera Program Evaluation Committee is responsible for:

                1.      ensuring the program is operating efficiently and within compliance of the law, Department
                        policies, and best practices.

                2.      referring any recommended Department-wide actions (e.g., training and policy
                        recommendations) based on observed or reported trends identified in BWC usage or
                        recordings (e.g. patterns of departing from Department policy, officer safety issues) to the
                        appropriate Department unit responsible for the implementation.

                3.      evaluating the effectiveness of the program and determine if it should be expanded
                        or modified.

                4.      advising the Superintendent on the recommendations concluded by the committee.

XIV.     ANNUAL REPORT TO THE ILLINOIS LAW ENFORCEMENT TRAINING AND STANDARDS BOARD

         The Department will produce an annual report on the use of BWCs to the Illinois Law Enforcement Training
         and Standards Board, on or before May 1 of each year. This report will include:

         A.     a brief overview of the makeup of the Department, including the number of members using BWCs;


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        B.      the number of BWCs used by the Department;

        C.      any technical issues with the equipment and how those issues were remedied;

        D.      a brief description of the review process used by supervisors within the Department;

        E.      for each recording used in prosecutions of conservation, criminal, or traffic offenses or municipal
                ordinance violations:

                1.      the time, date, location, and district of the incident;

                2.      the offense charged and the date charges were filed; and

        F.      any other information relevant to the use of BWCs.

(Items indicated by italics/double underline have been added or revised.)



Authenticated by MWK                                                    Larry Snelling
                                                                        Superintendent of Police
19-071 MJC/MWK




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